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                             EXHIBIT B
                                to
   JOINT SUPPLEMENTAL BRIEF IN SUPPORT
   OF MOTION FOR PRELIMINARY APPROVAL
       OF THE PARTIES’ CLASS ACTION
               SETTLEMENT




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   of Transportation
   Federal Motor
   Carrier Safety
   Adm inistration




                   FEDERAL MOTOR CARRIER SAFETY ADMINISTRATION
                  LEGAL OPINION OF THE OFFICE OF THE CHIEF COUNSEL

     Pursuant to 49 U.S.C. § 31141, the Secretary of Transportation may in certain circumstances
     determine that Federal law preempts a State law or regulation on commercial motor vehicle
     safety. The Secretary has delegated this authority to the Federal Motor Carrier Safety
     Administration ("FMCSA"). FM CSA has received inquiries about whether a preemption
     decision it issued under Section 31141 applies to litigation that was pending at the time the
     decision was issued . This legal opinion sets forth FMCSA's considered judgment on that
     question. 1

     Background

     Under 49 U.S.C. § 31141(a), "[a] State may not enforce a State law or regulation on
     commercial motor vehicle safety that the Secretary of Transportation decides under this
     section may not be enforced." A State law or regulation on commercial motor vehicle safety
     may not be enforced if the Secretary determines that it is "less stringent than" an FM CSA
     safety regulation. Id. § 31141 (c)(3). A State law or regulation on commercial motor vehicle
     safety also may not be enforced if the Secretary determines that it "is additional to or more
     stringent than" an FM CSA safety regulation, and that it either: (1) "has no safety benefit"; (2)
     "is incompatible with" the FMCSA regulation ; or (3) "would cause an unreasonable burden
     on interstate commerce." Id. § 31141 (c)(4). The Secretary may review a State law or
     regulation upon submission by the State, "on petition of an interested person," or "on the
     Secretary's own initiative." Id. § 31141 (b), (g). The Secretary has delegated her authority
     under Section 31141 to the Administrator ofFMCSA. 49 CPR§ l.87(f).

     On December 21, 2018, FM CSA issued a determination that the State of California's meal
     and rest break rules are preempted under Section 31141 as applied to property-carrying
     commercial motor vehicle drivers covered by FMCSA's hours of service regulations. See 83
     Fed. Reg. 67470 (Dec. 28, 2018). On January 7, 2019, an FMCSA attorney sent an email,
     responding to an inquiry from a private attorney, in which he stated that "[t]he FMCSA

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       This opinion is issued by the Deputy Chief Counsel because the Chief Counsel is recused from the particular
     preemption determination that gave rise to the question addressed herein.




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     determination does not have retroactive effect." This statement, however, did not and does
     not represent the views ofFMCSA. On January 18, 2019, the FMCSA attorney sent a further
     email message to the private attorney, in which he clarified that "our Agency is giving the
     retroactivity issue further consideration, and we will provide additional clarification as soon
     as possible."

     On March 15, 2019, FMCSA posted a public statement clarifying that the January 7 statement
     did not represent the views ofFMCSA. https://www.fmcsa.dot.gov/safety/california-meal-
     rest-update-march-2019. FMCSA indicated that it "intend[ed] to post a more detailed public
     statement in the near future, addressing how the December 21, 2018 preemption
     determination applies to pending cases." The present legal opinion represents the "more
     detailed public statement" referred to at that time, and it represents the considered views of
     FMCSA. 2

     Opinion

     FM CSA' s view is that once the agency issues a preemption decision under Section 31141, the
     preempted State law or regulation may not thereafter be enforced as to the activity or persons
     covered by the preemption determination. Among other things, an FMCSA preemption
     decision precludes courts from granting relief pursuant to the preempted State law or
     regulation with regard to the activity or persons in question at any time following issuance of
     the decision. An FMCSA preemption decision has this effect regardless of whether the
     conduct at issue in the lawsuit occurred before or after the decision was issued, and regardless
     of whether the lawsuit was filed before or after the decision was issued.

     FMCSA's opinion derives from the nature of Federal preemption. The Supremacy Clause of
     the U.S. Constitution provides that the "Constitution, and the Laws of the United States ...
     shall be the supreme Law of the Land; and Judges in every State shall be bound thereby, any
     Thing in the Constitution or Laws of any State to the Contrary notwithstanding." U.S. Const.
     Art. VI, cl. 2. "Congress may consequently pre-empt, i.e., invalidate, a state law through
     federal legislation ... [including] through express language in a statute." ONEOK, Inc. v.
     Learjet, Inc., 135 S. Ct. 1591, 1595 (2015). To the extent Congress has expressly or
     impliedly preempted a State law, the preempted law is "without effect." See, e.g., Cipollone
     v. Liggett Group, Inc., 505 U.S. 504,516 (1992); US. Small Bus. Admin. v. Bensal, 853 F.3d
     992,997 (9th Cir. 2017). In Section 31141, Congress provided that a State law or regulation
     would be preempted once the Secretary made the requisite determination. See 49 U.S.C.
     § 31141(a) ("Preemption after decision"). Thus, once FMCSA issues a preemption decision
     under Section 31141, the State law or regulation, to the extent preempted, is invalidated and
     "without effect," and courts lack the authority to take any contrary action on the basis of that
     State law or regulation, regardless of when the underlying conduct occurred.




     2 This opinion represents the considered views of the agency charged with administering Section 31141.
     Questions about the applicability ofFMCSA preemption decisions to particular lawsuits will ultimately be
     determined by the courts presiding over those lawsuits, and litigants remain free to argue their own views on
     these issues.

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     FMCSA ' s opinion is also consistent with the plain language of Section 31141(a), which
     provides that a "State may not enforce a State law or regulation on commercial motor vehicle
     safety that the Secretary of Transportation decides under this section may not be enforced."
     Accord 83 Fed. Reg. at 67480 ("California may no longer enforce the [meal and rest break]
     [r]ules with respect to drivers of property-carrying CMVs subject to FMCSA's [hours of
     service] rules."). This language tracks the general rule of preemption described above: a
     preempted State law is "without effect" and thus may not be enforced.

     While Section 31141(a) literally prohibits enforcement only by the State itself, it is well
     established that preemption statutes apply to private lawsuits even when the language of the
     Federal law is directed only to States. For example, the Federal Aviation Administration
     Authorization Act of 1994 ("F AAAA") and the Airline Deregulation Act ("ADA") provide
     that "a State ... may not enact or enforce" certain laws or regulations concerning,
     respectively, motor carriers and air carriers. 49 U.S.C. §§ 14501(c)(l), 41713(b)(l)
     (emphasis added). Although these provisions mention only State enforcement, courts
     routinely apply the provisions to hold private lawsuits preempted. See, e.g., Northwest, Inc. v.
     Ginsberg, 572 U.S. 273 (2014) (ADA); Schwann v. FedEx Ground Package Sys. Inc., 813
     F.3d 429 (1st Cir. 2016) (FAAAA). There is no reason to treat Section 31141 differently. 3
     Thus, Section 31141(a) provides that once FMCSA issues a preemption decision with regard
     to particular activities or persons, the preempted State law or regulation may not be enforced
     as to those activities or persons. Enforcement of a law, moreover, includes a court's granting
     ofreliefbased on that law. "Enforce" means "[t]o give force or effect to (a law, etc.),"
     Black's Law Dictionary (10th ed. 2014 ), and a court that grants relief on the basis of a law
     unquestionably gives force and effect to that law.

     Accordingly, the nature of preemption and the express language of Section 31141 lead to the
      same conclusion: At any time after FM CSA issues a decision preempting a State law or
     regulation as applied to certain activities or persons, no court may grant relief with respect to
      such activities or persons on the basis of that State law or regulation, regardless of when the
     underlying conduct occurred (and regardless of when the lawsuit was filed). This view is not
      inconsistent with the presumption against retroactive legislation or rulemaking, because it
     does not involve the retroactive application of an FMCSA decision, and instead involves only
     attempts to enforce a State law or regulation after the issuance of a preemption decision. An
     FMCSA preemption decision, moreover, has the same effect as a statute that removes
     jurisdiction in a pending lawsuit, as it eliminates a legal predicate for the lawsuit. Thus, just
     as a statute removing jurisdiction applies "whether or not jurisdiction lay when the underlying
     conduct occurred or when the suit was filed," Landgraf v. US! Film Prods., 511 U.S. 244,274
     (1994), so too does an FM CSA preemption decision apply without regard to any
     consideration of retroactivity.


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       While it is true that the FAAAA and the ADA, unlike Section 31141, also provide that a State may not "enact"
     a prohibited law, that is not a material difference. As the Supreme Court has recently made clear, a preemption
     statute prohibiting the enactment of State law does not actually dictate the activities of State legislatures, and
     instead "operates just like any other federal law with preemptive effect." Murphy v. NCAA, 138 S. Ct. 1461,
     1480 (2018). Thus , a statute saying that a State may not "enact or enforce" a law has the same effect as a statute
     saying that a State may not "enforce" a law-in either case, the State law may not be enforced by any party .

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     In any event, the presumptio n against retroa ctivity is jus t a presumption : When Congress has
     made its intent clear, "the potential unfairness of retroactive civil legislation is not a sufficient
     reason for a court to fail to give a statute its intended scope." Landgraf, 511 U.S. at 267.
     Thus, the intent of Congress always controls. Here, Congress has expressed its intent by its
     specific command in Section 31141 that "a State may not enforce a State law or regulation on
     commercial motor vehicle safety that the Secretary decides under this section may not be
     enforced." Thus, even if giving an FM CSA decision effect in pending and future cases could
     be considered retroactive, the presumption against retroactivity would not apply because
     Congress has already addressed the reach ofFMCSA decisions under Section 31141 .

     Conclusion

     For all of the reasons discussed herein, FMCSA's legal opinion is that an FMCSA preemption
     decision under Section 31141 precludes courts from granting relief pursu ant to the preempted
     State law or regulation at any time following issuance of the decision, regardless of whether
     the conduct underlying the lawsuit occurred before or after the decision was issued , and
     regardless of whether the lawsuit was filed before or after the decision was issued.




     March 22, 2019
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                                                             Deputy Chief Counsel




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